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                          Dale Arthur Weidenthaler 8/29/2018


    1                IN THE UNTIED STATES DISTRICT COURT

    2              FOR THE SOUTHERN DISTRICT OF CALIFORNIA

    3
         _________________________________
    4    MICHELLE MORIARTY, an individual,)
         as Successor in Interest to the )
    5    ESTATE OF HERON MORIARTY and as )
         GUARDIAN AD LITEM to ALEXANDRIA )
    6    MORIARTY ELIJAH MORIARTY, and     )
         ETERNITY MORIARTY,                )
    7                                      )
                      Plaintiffs,          )
    8                                      )
                vs.                        ) Case No.: 3:17-cv-
    9                                      )           01154-LAB-AGS
                                           )
   10    COUNTY OF SAN DIEGO, DR. ALFRED )
         JOSHUA, individually, and DOES   )
   11    1 through 10, Inclusive,          )
                                           )
   12                 Defendants.          )
         _________________________________)
   13

   14

   15         VIDEOTAPED DEPOSITION OF DALE ARTHUR WEIDENTHALER

   16                         SAN DIEGO, CALIFORNIA

   17                             AUGUST 29, 2018

   18

   19

   20

   21    REPORTED BY MANDY L. KERSH, CSR No. 10674

   22

   23

   24

   25

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    1    associated with these movements and extractions would fall

    2    on Nagy, were you disappointed that this had not been

    3    handled earlier?

    4        A.    No.    I did not even think of it in that context.

    5        Q.    Okay.    And when you realized it was Moriarty, did

    6    you then also connect that name Moriarty with what

    7    Lieutenant McNeely had told you about the guy who had

    8    gotten turned away because the safety cells were full?

    9        A.    Yes.

   10        Q.    Given that this is now the individual who had

   11    admitted homicidal -- or suicidal -- suicidal thoughts on

   12    the 27th that you had been informed of, and now was also

   13    being requested by the psych nurse for a safety cell

   14    placement, was it your intent to go ahead and place him in

   15    a safety cell?

   16        A.    No.

   17              MR. WELSH:      It's vague and ambiguous and

   18    misstates testimony.

   19    BY MR. MORRIS:

   20        Q.    Okay.    Help me out, Dale.         You know that this is

   21    the guy that had gotten turned away because safety cells

   22    were full and said he was suicidal.            Now five days later

   23    this is the guy that the psych nurse is saying he needs to

   24    be in a safety cell.       Why didn't you have an intent -- I

   25    realize right now you had other things going on.             I got

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    1    what you're going through on that.              Why wasn't it your

    2    intent, then, to at least put him in a safety cell at some

    3    point in time that day?

    4        A.    He was housed appropriately.              He said that "If

    5    somebody comes into my cell today, I'm going to kill

    6    them."

    7              Things to consider:           How is he going to kill

    8    them, particularly if nobody comes in the cell and we only

    9    pass through food through a food flap?               How is he going to

   10    kill anyone?      He was housed appropriately for the behavior

   11    he was currently demonstrating.

   12        Q.    Earlier in your testimony I talked about the

   13    discretion that came for homicidal inmates.                    And you said

   14    one thing we don't do, though, is second-guess the medical

   15    opinion by refusing this request from Nurse Practitioner

   16    Daniels to put him in a safety cell.               Aren't you doing

   17    that exact thing?       Aren't you second-questioning --

   18    second-guessing her medical opinion?

   19              MR. WELSH:       Misstates his earlier testimony.

   20    It's argumentative, incomplete hypothetical.

   21              THE WITNESS:        As I said earlier, there is

   22    discretion.     And I wasn't getting my information directly

   23    from the psych nurse.         I was getting my information from

   24    Deputy Guillory.       I did not have time at that time for

   25    further discussion or to search out Nurse Daniels, not

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        1   STATE OF CALIFORNIA

     2      COUNTY OF SAN DIEGO

     3

     4                       I, Mandy L . Kersh   Certi fied Short hand Repo rter,
     5      in and for the State of Calif ornia , Certi ficat e No. 10674
                                                                          ,
     6      do hereb y certi fy:

     7                       That the witne ss in the foreg oing depo sition was

     8      by me f irst duly sworn to testi fy to the truth , the whole

     9      truth and nothi ng but the truth in the foreg oing cause
                                                                     ;
    10      that the depo sition was then repor ted by me in short hand

    11      and trans cribe d, throu gh comp uter- aided t ransc riptio n,

    12      under my d irect ion; and that the above and foreg oing

    13      trans cript , is a true recor d of the testim ony elici ted
                                                                        and
   14       proce eding s had at said depo sition .

   15                        I do furth er certi fy that I am a disin teres ted

   16       perso n and am in no way inter ested in the outco me of
                                                                    this
   17       actio n or conne ction with or relat ed to any of the parti
                                                                        es
   18       in this actio n or to their respe ctive couns el ..

   19

   20                        In witne ss where of, I have hereu nto set my hand
                     .-0--
   21       this   \t>       day of

   22

   23

   24

   25




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